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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION


UNITED STATES OF AMERICA                                                           PLAINTIFF


VS.                            CASE NO. 4:17-CR-293-BSM-45


MARCUS O. MILLSAP                                                                DEFENDANT


 DEFENDANT’S MOTION TO DISMISS SECOND SUPERSEDING INDICTMENT FOR
     VIOLATION OF THE INTERSTATE AGREEMENT ON DETAINERS ACT


          Comes now the defendant Marcus O. Millsap, by and through his undersigned attorneys,

and for his Motion to Dismiss the Second Superseding Indictment for Violation of the Interstate

Agreement on Detainers Act states:

          1.    The Government has failed to bring defendant Millsap to trial within 120 days, as

required by Section 2, Article IV of the Interstate Agreement on Detainers Act, 18 U.S.C. § APP.

2 (hereinafter the “IADA”).

          2.    Consequently, the IADA mandates that the Second Superseding Indictment (ECF

No. 1058) against Defendant Millsap be dismissed. IADA § 2 Art. V(c).

          3.    The facts and circumstances of the case warrant dismissal with prejudice. See

IADA § 9 (1).

          4.    In furtherance of this Motion, Defendant Millsap submits his Memorandum Brief

in Support and Exhibits 1 through 3, which are filed contemporaneously herewith and incorporated

herein.
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       WHEREFORE, Defendant Marcus O. Millsap prays that the Court enter an Order granting

his Motion in all respects, dismissing the Second Superseding Indictment (ECF No. 1058) against

him with prejudice, or in the alternative without prejudice, and for all other just and proper relief

to which he may be entitled.

                                                     RESPECTFULLY SUBMITTED,

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